Case: 3:05-cr-00783-JGC Doc #: 187 Filed: 09/22/06 1 of 2. PageID #: 462




                 UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF OHIO
                       EASTERN DIVISION

UNITED STATES OF AMERICA                     )               CASE NO. 1:05cr327 - 27
                                             )                        3:05cr783 - 5
               Plaintiff,                    )
                                             )               Judge Dan A. Polster
               - vs -                        )
                                             )                ORDER
ARNOLD ESCOBAR, JR.,                         )
                                             )
                                             )
               Defendant(s).                 )



                   The above-captioned cases were referred to Magistrate Judge Vernelis K.

Armstrong pursuant to General Order 99-49, with the consent of the parties, for the purpose of

accepting a change of plea. The Magistrate Judge has filed her Report & Recommendation. No

objections were filed by either party.

                   The Court has listened to the taped proceedings and reviewed the Magistrate

Judge’s Report and Recommendation, and find that in her careful and thorough proceeding, the

Magistrate Judge satisfied all requirements of Fed. R. Crim. P. 11 and the U.S. Constitution. The

defendant knowingly, intelligently, and voluntarily entered a plea of guilty to Count 1 of the

indictment in 1:05cr327 and Count 1 of the indictment in 3:05cr783. The Court hereby accepts

and adopts the report and recommendation of Magistrate Judge Armstrong. Therefore, the

Court accepts the defendant’s guilty plea and enters it accordingly. The defendant is hereby
Case: 3:05-cr-00783-JGC Doc #: 187 Filed: 09/22/06 2 of 2. PageID #: 463




referred to the Probation Department for a pre-sentence investigation.

               Upon the request of Chief Judge James G. Carr, I am adopting the report and

recommendation and entering the defendant’s guilty plea on his behalf. Accordingly, this order

is entered in case 3:05cr783.



IT IS SO ORDERED

                                                     /s/Dan Aaron Polster 9/22/06
                                                      Dan Aaron Polster
                                                      U. S. District Judge




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